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                                                       8

                                                       9                                   UNITED STATES BANKRUPTCY COURT

                                                      10                                               DISTRICT OF NEVADA

                                                      11   In re:
                                                                                                                            Case No. 21-14486-abl
              1731 Village Center Circle, Suite 150




                                                      12          INFINITY CAPITAL MANAGEMENT, INC.                         Chapter 7
                   Las Vegas, Nevada 89134
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                                                      13                                Debtor.                             Hearing Date: November 17, 2021
                        (702) 471-7432




                                                                                                                            Hearing Time: 9:30 a.m.
                                                      14

                                                      15           OBJECTION TO MOTION OF PARTY IN INTEREST TECUMSEH – INFINITY
                                                                  MEDICAL RECEIVABLES FUND, LP TO (1) ABANDON PROPERTY AND (2) LIFT
                                                      16                               THE AUTOMATIC STAY
                                                      17              Creditor HASelect-Medical Receivables Litigation Finance Fund International SP

                                                      18   (“HASelect”), by and through its undersigned counsel, hereby files its Objection (the “Objection”)

                                                      19   to Creditor Tecumseh – Infinity Receivables Fund, LP’s (“Tecumseh”) Motion to (1) Abandon

                                                      20   Property and (2) Lift the Automatic Stay filed on October 5, 2021 [ECF No. 57] (the “Motion”). In

                                                      21   support of this Objection, HASelect respectfully represents as follows:

                                                      22                                           PRELIMINARY STATEMENT

                                                      23              1.       HASelect is a secured creditor that holds a perfected senior security interest1 in

                                                      24   substantially all personal property of Infinity Capital Management, Inc. (“Infinity” or “Debtor”),

                                                      25   including but not limited to, all of Infinity’s accounts receivable and records relating to the same.

                                                      26              2.       Tecumseh’s Motion seeks to compel Chapter 7 Trustee Robert Atkinson (the

                                                      27   “Trustee”) to abandon accounts receivable worth as much as $28 million that are both property of

                                                      28   1
                                                               See ECF No. 18 at Exhibit 1 and Exhibit 2.


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                                                       1   Infinity’s estate and collateral for Infinity’s indebtedness to HASelect. As such, the Motion cannot

                                                       2   be granted.

                                                       3                                             FACTUAL BACKGROUND

                                                       4               3.      Beginning in February 2019, HASelect made several loans to Debtor Infinity Capital

                                                       5   Management, Inc. (“Debtor” or “Infinity”) that were document through various written loan

                                                       6   agreements and promissory notes through which Infinity pledged all of its personal property to

                                                       7   HASelect as collateral for such loans.2

                                                       8               4.      HASelect perfected its security interest in all of Infinity’s personal property through

                                                       9   the filing of a UCC-1 with the Nevada Secretary of State on February 19, 2019.3

                                                      10               5.      On or about December 18, 2019, HASelect, which was then doing business under the

                                                      11   name HASelect-FTM Medical Receivables Litigation Finance Fund SP, and Infinity entered into a
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                                                      12   Second Amended & Restated Loan and Security Agreement and Promissory Note (together with all
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                                                           related loan documents, the “MLA”).4
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                                                      13

                                                      14               6.      The MLA superseded and restated all prior loans made by HASelect to Infinity as

                                                      15   well as extended further credit to Infinity.5

                                                      16               7.      HASelect holds a perfected security interest in all of Infinity’s personal property (as

                                                      17   defined in § 4.1 of the MLA, the “Collateral”). Specifically, Section 4.1 of the MLA states:

                                                      18               To secure the payment and performance when due of all of the Borrower’s
                                                                       obligations hereunder and under the Note, Borrower hereby grants to Lender a
                                                      19
                                                                       security interest int eh Receivables and the Alternative Receivables, and all of its
                                                      20               other personal property, including without limitation, all of Borrower’s interest in the
                                                                       following, whether now owned or hereafter acquired, and wherever located, but
                                                      21               excluding the Permitted Liens: All Goods, Inventory, Equipment, Fixtures,
                                                                       Accounts, General Intangibles, Instruments, Chattel Paper, Documents, Commercial
                                                      22               Tort Claims, Investment Property, Letter of Credit Rights, Deposit Accounts, and all
                                                      23               money, and all other property now or at any time in the future in Lender’s possession
                                                                       (including claims and credit balances), and all proceeds (including proceeds of any
                                                      24               insurance policies, proceeds of proceeds and claims against third parties), all products

                                                      25   2
                                                             See Declaration of Michael Griffin in Support of Motion for Relief from Automatic Stay (the “Griffin Declaration”)
                                                           filed at ECF No. 18, ¶ 5.
                                                      26   3
                                                               See UCC-1 Financing Statement, attached to Griffin Declaration [ECF No. 18] as Exhibit 2.
                                                      27   4
                                                               Id., ¶ 6.
                                                           5
                                                               Id., ¶ 7.
                                                      28

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                                                                      and all books and records related to any of the foregoing (all of the foregoing,
                                                       1              together with all other property in which Lender may now or in the future be granted
                                                       2              a lien or security interest, is referred to herein, collectively, as the “Collateral”).6
                                                                      8.       The Collateral consists primarily of accounts receivables Infinity purchased from
                                                       3
                                                           various medical providers but also includes substantially all of Infinity’s other personal property.
                                                       4
                                                                      9.       On September 14, 2021 (the “Petition Date”), Infinity filed for chapter 7 bankruptcy,
                                                       5
                                                           commencing the above-captioned case. [ECF No. 1]. As of the Petition Date, Infinity owed in
                                                       6
                                                           excess of $14 million to HASelect pursuant to the MLA.
                                                       7
                                                                      10.      On or about September 22, 2021, HASelect and Trustee Robert Atkinson (“Trustee”)
                                                       8
                                                           filed a Joint Motion for Abandonment of Collateral [ECF No. 12] (the “Joint Motion”) seeking
                                                       9
                                                           permission for the Trustee to abandon to HASelect all of the accounts receivable listed in
                                                      10
                                                           spreadsheets provided by Infinity’s Counsel on September 21, 2021 that corresponded to HASelect’s
                                                      11
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                                                           accounts (the “Undisputed Accounts”).
                                                      12
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                                                                      11.      As explained further in the Joint Motion and the Supplement thereto [ECF No. 64],
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                                                      13
                                                           the Undisputed Accounts were purchased by Infinity from various medical providers with proceeds
                                                      14
                                                           advanced by HASelect pursuant to the MLA and are unequivocally included in HASelect’s
                                                      15
                                                           Collateral under the MLA.
                                                      16
                                                                      12.      After filing the Joint Motion, HASelect discovered documents and information
                                                      17
                                                           establishing that, in addition to the Undisputed Accounts, Infinity purchased certain other accounts
                                                      18
                                                           receivable from largely the same medical providers and that Infinity subsequently sold and assigned
                                                      19
                                                           those accounts receivable (the “Disputed Accounts”) to Tecumseh through various Assignments and
                                                      20
                                                           Bill of Sale Agreements.
                                                      21
                                                                      13.      Based on this new information, HASelect concluded that the Disputed Accounts,
                                                      22
                                                           which were owned by Infinity prior to allegedly being assigned to Tecumseh, are also Collateral in
                                                      23
                                                           which HASelect holds a security interest that was perfected prior to any assignment to Tecumseh.
                                                      24

                                                      25

                                                      26

                                                      27
                                                           6
                                                               See MLA, attached to Griffin Declaration [ECF No. 18] as Exhibit 1.
                                                      28

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                                                       1              14.     Accordingly, on October 19, 2021, HASelect filed an Adversary Complaint [Case

                                                       2   No. 21-14486-abl, ECF No. 1] against Tecumseh through which HASelect seeks, among other

                                                       3   things, a declaratory judgment confirming its superior interest in the Disputed Accounts.

                                                       4              15.     HASelect is informed and believes that the value of the Disputed Accounts is in

                                                       5   excess of $22 million. Although, based on the Declaration of Chad Meyer filed in support of the

                                                       6   Motion [ECF No. 59], it appears the value of the Disputed Accounts (which are referenced in the

                                                       7   Motion as the “Tecumseh Accounts”) may worth as much as $28 million.7

                                                       8              16.     Tecumseh has provided no evidence that it perfected any purchase or assignment of

                                                       9   accounts receivable from Infinity through the filing of a UCC-1 financing statement. As such, any

                                                      10   interest Tecumseh acquired in the Disputed Accounts from Infinity remains unperfected and is

                                                      11   avoidable pursuant to the Trustee’s “strong arm” powers under 11 U.S.C. § 544(a).
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                                                      12              17.     Accordingly, to the extent that the value of the Disputed Accounts (together with the
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                                                      13   value of the Undisputed Accounts and other Collateral) exceed Infinity’s indebtedness to HASelect,

                                                      14   that excess value, which may be substantial, would benefit the Estate.

                                                      15                                                 ARGUMENT

                                                      16              A.      Tecumseh’s Requested Relief Is Improper and Cannot Be Granted.
                                                      17              18.     Tecumseh’s Motion seeks relief that should rarely, if ever, be granted. Unlike

                                                      18   HASelect’s Joint Motion in which the Trustee also sought to abandon the Undisputed Accounts, the

                                                      19   Trustee has not joined in Tecumseh’s Motion. Thus, the Motion is more properly framed as a request

                                                      20   that the Court compel the Trustee to abandon the Disputed Accounts pursuant to 11 U.S.C. § 554(b),

                                                      21   in contrast with the joint request by the Trustee and HASelect under the Joint Motion which was

                                                      22   made pursuant to 11 U.S.C. § 554(a).

                                                      23              19.     Section 554(b) provides that “on request of a party in interest and after notice and a

                                                      24   hearing, the court may order the trustee to abandon any property of the estate that is burdensome to

                                                      25   the estate or that is of inconsequential value and benefit to the estate.” Vu v. Kendall (In re Vu), 245

                                                      26   B.R. 644, 647 (9th Cir. 2000). In order to approve a motion to abandon property, the bankruptcy

                                                      27
                                                           7
                                                               ECF No. 59, ¶ 9.
                                                      28

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                                                       1   court must find either that (1) the property is burdensome to the estate or (2) of inconsequential value

                                                       2   and inconsequential benefit to the estate. Id.

                                                       3              20.     However, unlike requests made by a trustee pursuant to Section 554(a), requests by

                                                       4   parties-in-interest under Section 554(b) should rarely, if ever be granted. “[A]n order compelling

                                                       5   abandonment is the exception, not the rule. Abandonment should only be compelled in order to help

                                                       6   creditors by assuring some benefit in the administration of each asset…. Absent an attempt by the

                                                       7   trustee to churn property worthless to the estate just to increase fees, abandonment should rarely be

                                                       8   ordered.” Vu, 245 B.R. at 647 (citing Morgan v. K.C. Mach. & Tool Co. (In re K.C. Mac. & Tool

                                                       9   Co.), 816 F.2d 238, 245 (6th Cir. 1987)) (emphasis supplied); In re Acarregui, 527 B.R. 247, 255

                                                      10   (Idaho Bankr. Ct. 2017) (same).

                                                      11              21.     Here, Tecumseh’s Motion cannot be granted because Tecumseh offers no evidence
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                                                      12   to suggest that the Trustee has acted improperly in his handling of the Disputed Accounts or any
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                                                      13   other asset of the estate. Indeed, this case was filed less than two months ago. This is not a situation

                                                      14   where a trustee has taken no action regarding the assets at issue or has attempted to churn worthless

                                                      15   assets to drive up fees. In other words, this is clearly not the rare situation where abandonment

                                                      16   should be ordered.

                                                      17              22.     Additionally, the Disputed Accounts are likely to be of substantial value to the estate.

                                                      18   Tecumseh admits that the Disputed Accounts may be worth as much as $28 million.8 Even a much

                                                      19   lower value could be worth substantially more than the outstanding indebtedness of approximately

                                                      20   $15 million owed to HASelect under the MLA, which is likely to be reduced considerably as

                                                      21   HASelect liquidates other Collateral. As such, Tecumseh cannot show that the Disputed Accounts

                                                      22   are of inconsequential value or benefit to the estate. Similarly, Tecumseh offers no evidence to show

                                                      23   that the Disputed Accounts would be burdensome to the estate. Therefore, Tecumseh cannot meet

                                                      24   its burden under Section 554(b), and the Motion should be denied.

                                                      25

                                                      26

                                                      27
                                                           8
                                                               ECF No. 59, ¶ 9.
                                                      28

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                                                                      B.        The Disputed Accounts Are HASelect’s Collateral.
                                                       1
                                                                      23.       As set forth in the Adversary Complaint [Case No. 21-14486-abl, ECF No. 1] filed
                                                       2
                                                           by HASelect against Tecumseh, the Disputed Accounts were owned by Infinity prior to any
                                                       3
                                                           assignment to Tecumseh9 and, consequently, are part of the Collateral securing the indebtedness
                                                       4
                                                           owed to HASelect under the MLA. HASelect’s claimed security interest in the Disputed Accounts
                                                       5
                                                           alone is good reason to deny the Motion.
                                                       6
                                                                      24.       Further, Tecumseh admits in the Motion that the Disputed Accounts were purchased
                                                       7
                                                           by Infinity from the medical providers that supplied the services from which these accounts
                                                       8
                                                           receivables arose.10 Tecumseh also admits that it purchased many of these accounts receivables
                                                       9
                                                           from Infinity.11
                                                      10
                                                                      25.       As such, it is beyond dispute that (1) Infinity held an ownership interest in at least
                                                      11
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                                                           some of the Disputed Accounts before such Disputed Accounts were assigned to Tecumseh, (2)
                                                      12
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                                                           those Disputed Accounts in which Infinity held an ownership interest became part of HASelect’s
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                                                      13
                                                           Collateral under the MLA in which HASelect held (and continues to hold) a perfected security
                                                      14
                                                           interest notwithstanding any subsequent assignment to Tecumseh, and (3) any interest in such
                                                      15
                                                           Disputed Accounts that was assigned to Tecumseh is subordinate and junior to the prior perfected
                                                      16
                                                           security interest of HASelect.
                                                      17
                                                                      26.       Tecumseh claims to have made direct payment to some of the medical provides from
                                                      18
                                                           whom the Debtor purchased the Disputed Accounts.12 But Tecumseh provides no evidence that any
                                                      19
                                                           account receivable was ever assigned directly to Tecumseh by any medical provider. Tecumseh also
                                                      20
                                                           offers no evidence that any Disputed Account for which it claims it paid directly was not assigned
                                                      21
                                                           first to Infinity before being assigned to Tecumseh.13
                                                      22

                                                      23   9
                                                             The Sub-Advisory Agreement pursuant to which Tecumseh claims to have acquired its interests in the Disputed
                                                           Accounts is dated June 18, 2020 – long after HASelect perfected its security interest in all of Infinity’s accounts and
                                                      24   other personal property under the MLA.
                                                           10
                                                            See Motion, p. 2, ¶ 2 (“The Debtor purchases certain Receivables pursuant to a sub-advisory agreement (the “Sub-
                                                      25   Advisor Agreement”) with Tecumseh (the “Tecumseh Receivables”) …”).
                                                      26   11
                                                            See Motion, p. 4, ¶ 15 (“In most cases, Tecumseh paid the medical provider directly. In other cases, it purchased the
                                                           Receivable from the Debtor.”).
                                                      27   12
                                                                See Motion, p. 4, ¶ 15.
                                                      28   13
                                                                In fact, Tecumseh has produced no document showing that any interest in any account receivable was actually


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                                                       1              27.       Rather, the evidence that has come to light at this early stage of the case plainly

                                                       2   indicates that Disputed Accounts continued to be purchased by and assigned directly to Infinity

                                                       3   through at least August 2021.

                                                       4              28.       On October 15, 2021, the Court entered orders granting the Joint Motion [ECF No.

                                                       5   97] and a related motion for relief from the automatic stay filed by HASelect [ECF No. 96] by which

                                                       6   (1) the Collateral, subject to certain limited carveouts, was abandoned to HASelect and (2) HASelect

                                                       7   was granted relief from the automatic stay to take possession of the Collateral. Shortly thereafter,

                                                       8   Infinity and the Trustee granted HASelect access to Infinity’s former business offices.

                                                       9              29.       HASelect entered Infinity’s former business offices on or about October 20, 2021

                                                      10   and began reviewing records related to the collateral. Although its review of those records is far

                                                      11   from complete, HASelect has located several documents evidencing Infinity’s purchase of the
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                                                      12   Disputed Accounts.
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                                                      13              30.       For example, Infinity entered into a Partial Purchase and Sale Agreement on January

                                                      14   6, 2021 with Viking Pain Management, LLC (“Viking”) that provides for the sale of existing and

                                                      15   future accounts receivable by Viking to Infinity.14 This agreement makes no mention whatsoever of

                                                      16   Tecumseh.15          Further, HASelect located several subsequent statements that identify specific

                                                      17   accounts purchased by Infinity pursuant to the Viking agreement.16 Again, these statements, the

                                                      18   latest of which is dated August 12, 2021, make no mention whatsoever of Tecumseh.

                                                      19              31.       The only documents Tecumseh has offered to date in support of its claim to

                                                      20   ownership of the Disputed Accounts are a series of purchase orders issued by Tecumseh to Infinity,

                                                      21   not to any medical provider.17 Those purchase orders, which Tecumseh omitted from the evidence

                                                      22   filed in support of the Motion, further confirm that the Disputed Accounts were sold by Infinity to

                                                      23   Tecumseh.

                                                      24   transferred to Tecumseh by Infinity or any other person.
                                                      25   14
                                                                A copy of the January 6, 2021 Partial Purchase and Sale Agreement is attached hereto as Exhibit 1.
                                                           15
                                                             In fact, it contains anti-assignment language at § 21 that prohibits Infinity from assigning any rights under the
                                                      26   agreement to any other person without Viking’s written consent.
                                                      27   16
                                                                Copies of several such statements are attached hereto as Exhibit 2.
                                                           17
                                                                See ECF 54-4.
                                                      28

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                                                       1            32.      Aside from the unsupported and conclusory statements set forth in the Chad Meyer

                                                       2   Declaration [ECF No. 59], Tecumseh has offered no credible evidence to establish that it holds any

                                                       3   ownership interest in any of the Disputed Accounts. Moreover, Tecumseh cites no authority in its

                                                       4   Motion that would allow for the abandonment to Tecumseh of Collateral in which HASelect holds

                                                       5   a perfected security interest. The Motion must be denied.

                                                       6            C.       The Disputed Accounts that Tecumseh Seeks to Have Abandoned Are
                                                                             Property of the Estate.
                                                       7
                                                                    33.      Notwithstanding Tecumseh’s claims to the contrary, the Disputed Accounts are
                                                       8
                                                           property of the estate in which HASelect hold a perfected security interest.
                                                       9
                                                                    34.      Perfection of the purchase of an interest in accounts receivable requires the filing of
                                                      10
                                                           a UCC financing statement. Tecumseh did not file any UCC financing statement to perfect its
                                                      11
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                                                           alleged purchase of the Disputed Accounts from Infinity. Consequently, any interest Tecumseh may
                                                      12
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                                                           claim in the Disputed Accounts (in addition to being subordinate and subject to HASelect’s prior
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                                                      13
                                                           perfected security interest under the MLA) can be avoided by the Trustee pursuant to § 544(a).
                                                      14
                                                                             i.       The Disputed Accounts are Accounts under the UCC.
                                                      15
                                                                    35.      The term “account” is broadly defined under Nevada’s UCC to include a right to
                                                      16
                                                           payment for property sold, leased or licensed, or services rendered. NRS 104.9102(1)(b). The
                                                      17
                                                           Disputed Accounts arose from services provided by various medical professionals. Accordingly,
                                                      18
                                                           the Disputed Accounts are “accounts” within the meaning of NRS 104.9102(1)(b).
                                                      19
                                                                             ii.      Sales of Accounts Fall Plainly within the Scope of the UCC.
                                                      20
                                                                    36.      The term “security interest” includes the interest of an outright buyer of “accounts.”
                                                      21
                                                           See NRS 104.1201(ii)18; see also Dellamargio v. B-Line, LLC (In re Barker), 306 B.R. 339, 349
                                                      22
                                                           (Bankr. E.D. Cal. 2004) (“The scope of Revised Article 9 extends to: ‘A sale of accounts....’”).
                                                      23
                                                           Dovetailing with the inclusive definition of “security interest,” NRS 104.9102(1)(bb) defines
                                                      24
                                                           “debtor” to include “[a] seller of accounts,” while NRS 104.9102(1)(ttt) defines “secured party” to
                                                      25
                                                           include “[a] person to which accounts ... have been sold.” Likewise, “collateral” is defined in NRS
                                                      26
                                                           18
                                                             “‘Security interest’ means an interest in personal property or fixtures which secures payment or performance of an
                                                      27   obligation. ‘Security interest’ includes any interest of a consignor and a buyer of accounts, chattel paper, a payment
                                                           intangible or a promissory note …” NRS 104.1201(ii).
                                                      28

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                                                       1   104.9102(1)(l) to include “[a]ccounts ... that have been sold,” while NRS 104.9109(1), which sets

                                                       2   forth the scope of Article 9, provides that “this Article applies to ...(3) [a] sale of accounts...” See

                                                       3   Netbank, FSB v. Kipperman (In re Commercial Money Center, Inc.), 350 B.R. 465, 475 (9th Cir.

                                                       4   BAP 2006) (“[T]he UCC uses lending terminology in provisions that are applicable to sales.”).

                                                       5          37.     The definitions discussed above demonstrate that UCC Article 9 is equally applicable

                                                       6   to the sale of accounts as to the use of accounts as security for repayment of an obligation. Any

                                                       7   notion to the contrary is quickly dispelled by Assembly Committee Comment 5 to UCC § 9109:

                                                       8                  [N]either this Division nor the definition of “security interest” in Section
                                                                          1201 provides rules for distinguishing sales transactions from those that
                                                       9                  create a security interest securing an obligation. This Division applies to
                                                                          both types of transactions. The principal effect of this coverage is to apply
                                                      10                  this Division’s perfection and priority rules to these sales transactions.
                                                                          Use of terminology such as “security interest,” “debtor,” and “collateral” is
                                                      11                  merely a drafting convention adopted to reach this end, and its use has no
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                                                                          relevance to distinguishing sales from other transactions. (Emphasis
                                                      12                  supplied).
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                                                      13          38.     Thus, under the UCC, it makes no difference whether Infinity assigned or sold the

                                                      14   Disputed Accounts to Tecumseh. Both transactions are subject to the same perfection and priority

                                                      15   requirements under the UCC. Moreover, the same consequences of failing to perfect apply regardless

                                                      16   of Tecumseh’s claimed purchase of Assigned Accounts.

                                                      17                  iii.    Tecumseh Failed to Perfect Any Security Interest in the Disputed
                                                                                  Accounts.
                                                      18
                                                                  39.     Perfection of a security interest in accounts is governed by NRS 104.9310(1), which
                                                      19
                                                           provides that “a financing statement must be filed to perfect all security interests” unless the
                                                      20
                                                           transaction falls into one of the specific exceptions set forth in NRS 104.9310(2). None of those
                                                      21
                                                           exceptions apply to the Disputed Accounts.
                                                      22
                                                                  40.     So far as can be determined, Tecumseh did not file a UCC-1 Financing Statement
                                                      23
                                                           referencing any of the Assigned Accounts. Consequently, any interest that Tecumseh may claim in
                                                      24
                                                           the Assigned Accounts is unperfected, and, therefore, avoidable by the Trustee pursuant to 11 U.S.C.
                                                      25
                                                           § 544(a).
                                                      26

                                                      27

                                                      28

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                                                                          iv.       The Trustee Has the Power to Avoid Tecumseh’s Unperfected Security
                                                       1                            Interest in the Disputed Accounts.
                                                       2          41.     The Trustee’s “strong arm” powers under 11 U.S.C. § 544(a) give the Trustee priority
                                                       3   over and allow him to avoid Tecumseh’s unperfected security interest in the Disputed Accounts:
                                                       4                  The trustee shall have, as of the commencement of the case, and without
                                                                          regard to any knowledge of the trustee or of any creditor, the rights and
                                                       5                  powers of, or may avoid any transfer of property of the debtor or any
                                                                          obligation incurred by the debtor that is voidable by –
                                                       6
                                                                          (1) a creditor that extends credit to the debtor at the time of the
                                                       7                  commencement of the case, and that obtains, at such time and with respect
                                                                          to such credit, a judicial lien on all property on which a creditor on a simple
                                                       8                  contract could have obtained such a judicial lien, whether or not such a
                                                                          creditor exists.
                                                       9
                                                           11 U.S.C. § 544(a)(1).
                                                      10
                                                                  42.     As the Ninth Circuit Court of Appeals has explained, “[s]ection 544 of the
                                                      11
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                                                           Bankruptcy Code, the ‘strong-arm clause,’ grants a trustee in bankruptcy ‘the rights and powers of
                                                      12
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                                                           a hypothetical creditor who obtained a judicial lien on all of the property in the estate at the date the
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                                                      13
                                                           petition in bankruptcy was filed.’” Neilson v. Chang (In re First T.D. & Investment, Inc.), 253 F.3d
                                                      14
                                                           520, 526 (9th Cir. 2001) (citation omitted). In particular, “[o]ne of these powers is the ability to take
                                                      15
                                                           priority over or ‘avoid’ security interests that are unperfected under applicable state law ....” Id.
                                                      16
                                                           (internal quotations and citations omitted). By operation of § 544(a), the Trustee may avoid any
                                                      17
                                                           unperfected security interest Tecumseh may claim or hold in the Disputed Accounts.
                                                      18
                                                                  43.     Nev. Rev. Stat. § 104.9317(1)(b) likewise confirms that the Trustee takes priority
                                                      19
                                                           over Tecumseh’s unperfected interest in the Disputed Accounts: “[a] security interest ... is
                                                      20
                                                           subordinate to the rights of ... a person that becomes a lien creditor before ... the time the security
                                                      21
                                                           interest ... is perfected....” The term “lien creditor” is defined in Nev. Rev. Stat. § 104.9102(1)(yy)
                                                      22
                                                           to include “[a] trustee in bankruptcy from the date of the filing of the petition.” The Trustee, on
                                                      23
                                                           behalf of Debtor, obviously qualifies as a “lien creditor” under this subsection.
                                                      24
                                                                  44.     Tecumseh’s claimed purchase of the Disputed Accounts is irrelevant. See NRS
                                                      25
                                                           104.9318(2) (“For purposes of determining the rights of creditors of ... a debtor that has sold an
                                                      26
                                                           account ..., while the buyer’s security interest is unperfected, the debtor is deemed to have rights and
                                                      27
                                                           title to the account ... identical to those the debtor sold.”). See also, In re Vigil Bros. Construction,
                                                      28

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                                                       1   Inc., 193 B.R. 513 (9th Cir. B.A.P. 1996) (holding that the position of unperfected buyer of accounts

                                                       2   was subordinate to subsequent chapter 7 trustee’s position as lien creditor); In re Cripps, 31 B.R.

                                                       3   541 (Bankr. W.D. Okla. 1983) (same).

                                                       4          45.     Tecumseh’s unperfected interest in the Disputed Accounts is subordinate to both

                                                       5   HASelect’s position as perfected secured creditor and the Trustee’s position as a “lien creditor”

                                                       6   under § 544(a).

                                                       7          D.      Based on the Foregoing, Tecumseh’s Request to Lift the Stay Should Be
                                                                          Denied.
                                                       8
                                                                  46.     Tecumseh’s Motion requests relief from stay pursuant to 11 U.S.C. § 362(d)(1)
                                                       9
                                                           without any analysis outside of its arguments relating to abandonment of the Disputed Accounts.
                                                      10
                                                           Thus, to the extent that Tecumseh’s claims for abandonment fail, so too must Tecumseh’s request
                                                      11
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                                                           for relief from stay. Indeed, Tecumseh should not be permitted to take any action with the Disputed
                                                      12
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                                                           Accounts prior to the resolution of all competing claims to the Disputed Accounts.
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                                                      13
                                                                                                    CONCLUSION
                                                      14
                                                                  Based on the foregoing, the HASelect respectfully requests that the Court deny Tecumseh’s
                                                      15
                                                           Motion.
                                                      16
                                                                  DATED this 3rd day of November 2021.
                                                      17
                                                                                                        SHEA LARSEN
                                                      18

                                                      19                                                /s/ Bart K. Larsen, Esq.
                                                                                                        Bart K. Larsen, Esq.
                                                      20                                                Nevada Bar No. 8538
                                                                                                        Kyle M. Wyant, Esq.
                                                      21                                                Nevada Bar No. 14652
                                                                                                        1731 Village Center Circle, Suite 150
                                                      22                                                Las Vegas, Nevada 89134
                                                      23                                                Attorneys for HASelect-Medical Receivables
                                                                                                        Litigation Finance Fund International SP
                                                      24

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                                                                                         CERTIFICATE OF SERVICE
                                                       1
                                                                 1.    On November 3, 2021, I served the following document(s): OBJECTION TO
                                                       2               MOTION OF PARTY IN INTEREST TECUMSEH – INFINITY MEDICAL
                                                                       RECEIVABLES FUND, LP TO (1) ABANDON PROPERTY AND (2) LIFT
                                                       3               THE AUTOMATIC STAY
                                                       4         2.    I served the above document(s) by the following means to the persons as listed below:
                                                       5               ☒       a.     ECF System:
                                                       6         ROBERT E. ATKINSON
                                                                 Robert@ch7.vegas, TrusteeECF@ch7.vegas;ecf.alert+atkinson@titlexi.com
                                                       7
                                                                 CLARISSE L. CRISOSTOMO on behalf of Plaintiff ROBERT E. ATKINSON
                                                       8         clarisse@nv-lawfirm.com, bknotices@nv-lawfirm.com
                                                       9         CLARISSE L. CRISOSTOMO on behalf of Trustee ROBERT E. ATKINSON
                                                                 clarisse@nv-lawfirm.com, bknotices@nv-lawfirm.com
                                                      10
                                                                 BRADFORD IRELAN on behalf of Creditor HEALTHPLUS IMAGINING OF TEXAS,
                                                      11         LLC
              1731 Village Center Circle, Suite 150




                                                                 birelan@imtexaslaw.com,
                                                      12         jstephens@imtexaslaw.com;dhall@imtexaslaw.com;ynguyen@imtexaslaw.com
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                        (702) 471-7432




                                                      13         DAVID MINCIN on behalf of Creditor HEALTHPLUS IMAGINING OF TEXAS, LLC
                                                                 dmincin@mincinlaw.com, cburke@mincinlaw.com
                                                      14
                                                                 MICHAEL D. NAPOLI on behalf of Creditor TECUMSEH - INFINITY MEDICAL
                                                      15         RECEIVABLES FUND, LP
                                                                 michael.napoli@akerman.com,
                                                      16         cindy.ferguson@akerman.com;catherine.kretzschmar@akerman.com;masterdocketlit@ake
                                                                 rman.com
                                                      17
                                                                 TRENT L. RICHARDS on behalf of Creditor THE INJURY SPECIALISTS
                                                      18         trichards@sagebrushlawyers.com
                                                      19         ARIEL E. STERN on behalf of Creditor TECUMSEH - INFINITY MEDICAL
                                                                 RECEIVABLES FUND, LP
                                                      20         ariel.stern@akerman.com, akermanlas@akerman.com
                                                      21         U.S. TRUSTEE - LV - 7
                                                                 USTPRegion17.LV.ECF@usdoj.gov
                                                      22
                                                                 MATTHEW C. ZIRZOW on behalf of Debtor INFINITY CAPITAL MANAGEMENT,
                                                      23         INC.
                                                                 mzirzow@lzlawnv.com,
                                                      24         carey@lzlawnv.com;trish@lzlawnv.com;jennifer@lzlawnv.com;zirzow.matthewc.r99681
                                                                 @notify.bestcase.com
                                                      25
                                                                       ☐       b.     United States mail, postage fully prepaid:
                                                      26
                                                                       ☐       c.     Personal Service:
                                                      27
                                                                       I personally delivered the document(s) to the persons at these addresses:
                                                      28

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                                                       1                                ☐        For a party represented by an attorney, delivery was made by
                                                                        handing the document(s) at the attorney’s office with a clerk or other person in
                                                       2                charge, or if no one is in charge by leaving the document(s) in a conspicuous place in
                                                                        the office.
                                                       3
                                                                                        ☐      For a party, delivery was made by handling the document(s) to
                                                       4                the party or by leaving the document(s) at the person’s dwelling house or usual place
                                                                        of abode with someone of suitable age and discretion residing there.
                                                       5
                                                                        ☐       d.     By direct email (as opposed to through the ECF System):
                                                       6                Based upon the written agreement of the parties to accept service by email or a court
                                                                        order, I caused the document(s) to be sent to the persons at the email addresses listed
                                                       7                below. I did not receive, within a reasonable time after the transmission, any
                                                                        electronic message or other indication that the transmission was unsuccessful.
                                                       8

                                                       9                ☐       e.      By fax transmission:
                                                      10                Based upon the written agreement of the parties to accept service by fax transmission
                                                                        or a court order, I faxed the document(s) to the persons at the fax numbers listed
                                                      11                below. No error was reported by the fax machine that I used. A copy of the record of
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                                                                        the fax transmission is attached.
                                                      12
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                                                                        ☐       f.      By messenger:
                        (702) 471-7432




                                                      13
                                                                        I served the document(s) by placing them in an envelope or package addressed to the
                                                      14                persons at the addresses listed below and providing them to a messenger for service.
                                                      15         I declare under penalty of perjury that the foregoing is true and correct.
                                                      16         Dated: November 3, 2021.
                                                                                                        By: /s/ Bart K. Larsen, Esq,
                                                      17

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